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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 ASHTON ORR, ZAYA PERYSIAN,
 SAWYER SOE, CHASTAIN ANDERSON,
 DREW HALL, BELLA BOE, and REID
 SOLOMON-LANE, on behalf of themselves
 and others similarly situated,

                               Plaintiffs,

                     v.                             Case No. 1:25-cv-10313-JEK

 DONALD J. TRUMP, in his official capacity
 as President of the United States; U.S.
 DEPARTMENT OF STATE; MARCO
 RUBIO, in his official capacity as Secretary
 of State; and UNITED STATES OF
 AMERICA,
                                Defendants.



          JOINT MOTION FOR PROPOSED AGREED PROTECTIVE ORDER
                    REGARDING PLAINTIFF PSEUDONYMS

       The Parties hereby submit this Joint Motion for Proposed Agreed Protective Order

Regarding Plaintiff Pseudonyms.

       On February 19, 2025, Plaintiffs filed a Motion for Leave to Proceed Pseudonymously

(ECF 46) (“the Pseudonym Motion”). Defendants do not oppose the Pseudonym Motion.

       As stated in the Pseudonym Motion, Plaintiffs have no objection to providing Defendants

with the non-pseudonymous names of Plaintiffs Bella Boe and Sawyer Soe (the “Pseudonym

Plaintiffs”) under an appropriate protective order. To facilitate Defendants’ counsel receiving the

non-pseudonymous names of the Pseudonym Plaintiffs prior to the Court ruling on the Pseudonym

Motion, and to provide protections should the Court grant the Pseudonym Motion, the Parties have

agreed to the accompanying Proposed Agreed Protective Order Regarding Pseudonyms.


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      The Parties therefore respectfully request that the Court enter the Proposed Agreed

Protective Order Regarding Pseudonyms.

                                         Respectfully submitted,


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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I, Isaac D. Chaput, hereby certify that in accordance with Local Rule 7.1(a)(2), counsel

for Plaintiffs communicated via email on February 28, March 6, March 11, and March 17, 2025,

with counsel at the Department of Justice, Benjamin Takemoto and John Robinson, who

indicated that Defendants joined this motion.




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2025, a true copy of the foregoing will be

electronically filed with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF).




                                                            /s/ Isaac D. Chaput
                                                            Isaac D. Chaput




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